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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA ex rel. )
CHRISTOPHER CRAIG and            )
KYLE KOZA,                       )
                                 )
       Plaintiff–Relators,       )              Civil Action No.
                                 )              1:22-cv-02698-JPB
v.                               )
                                 )
GEORGIA TECH RESEARCH            )              FILED EX PARTE
CORPORATION et al.,              )
                                 )
       Defendants.               )


                    THE UNITED STATES OF AMERICA’S
                   NOTICE OF ELECTION TO INTERVENE

      Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(2) and (4), the United

States of America (the “United States”) notifies the Court that it hereby intervenes

and intends to proceed with this action. The United States intends to file its
Complaint in Intervention within 120 days.
      The United States requests that the Relator’s Complaint, this Notice, and the

proposed Order submitted herewith be unsealed. The United States requests that

all other papers on file in this action remain under seal because, in discussing the

content and extent of the United States’s investigation, those papers are provided

by law to the Court alone for the sole purpose of evaluating whether the seal and

time for making an election to intervene should be extended. The United States
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further requests that all associated docket entries (including the corresponding
electronic CM/ECF entries) remain under seal and not be made public or served

on Defendants. The United States reserves the right to seek the dismissal of the

relator’s action or any claim on any appropriate grounds, including under 31
U.S.C. §§ 3730(b)(5) and (e)(4).

      A proposed Order accompanies this notice.

      This 19th day of February, 2024.


                                         Respectfully submitted,

                                         BRIAN M. BOYNTON
                                         PRINCIPAL DEPUTY ASSISTANT
                                         ATTORNEY GENERAL
                                         CIVIL DIVISION

                                          /s/ Adam Nugent
                                         ADAM NUGENT
                                         ASSISTANT U.S. ATTORNEY
                                         Georgia Bar No. 381008
                                         AKASH DESAI
                                         ASSISTANT U.S. ATTORNEY
                                         Georgia Bar No. 338124
                                         600 Richard B. Russell Federal Bldg.
                                         75 Ted Turner Drive, SW
                                         Atlanta, Georgia 30303
                                         Telephone: (404) 581-6000
                                         Facsimile: (404) 581-6181

                                         JAMIE ANN YAVELBERG
                                         SARA MCLEAN
                                         JAKE M. SHIELDS
                                         ATTORNEYS
                                         U.S. Department of Justice
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                              175 N Street N.E., Room 10.222
                              Washington, D.C. 20002
                              Telephone: (202) 514-0401

                              Counsel for United States of America




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